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   8
                                UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
  11 STEPHANIE CLIFFORD a.k.a.                     Case No. 2:18-CV-05052-SJO (FFMx)
  12 STORMY DANIELS a.k.a. PEGGY                   REQUEST FOR JUDICIAL NOTICE
       PETERSON, an individual,
  13                                               IN SUPPORT OF DEFENDANT
                                                   MICHAEL COHEN’S SPECIAL
  14               Plaintiff,
                                                   MOTION TO STRIKE (CAL. CODE
  15                                               CIV. PROC. § 425.16) OR,
             v.
                                                   ALTERNATIVELY, TO DISMISS
  16
                                                   (FRCP 12(b)(6)) PLAINTIFF’S
     KEITH M. DAVIDSON, an Individual,
  17                                               AIDINT AND ABETTING CLAIM
     MICHAEL COHEN, an individual, and
                                                   AGAINST COHEN
  18 DOES 1 through 10, inclusive,
  19                                               Date:          August 6, 2018
                     Defendants.
                                                   Time:          10:00 a.m.
  20
                                                   Location:      Courtroom 10C
  21
                                                           Hon. S. James Otero
  22
  23                                               Action Filed: June 6, 2018

  24         Defendant Michael Cohen (“Cohen”) respectfully requests, pursuant to Rule
  25 201 of the Federal Rules of Evidence (“Rule 201”), that the Court take judicial notice
  26 of the contents of the document attached as: Exhibit 1 to this Request: the filings of
  27 the matter of Stephanie Clifford v. Donald J. Trump et al., case number 2:18-cv-
  28 02217, in the U.S. District Court for the Central District of California.
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   1         Under Rule 201, “[t]he court may judicially notice a fact that is not subject to a
   2 reasonable dispute because it… can be accurately and readily determined from
   3 sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).
   4 “Federal courts may take judicial notice of orders and proceedings in other courts,
   5 including transcripts.” Neylon v. Cty. of Inyo, 2016 WL 6834097, at *2 (E.D. Cal.
   6 Nov. 21, 2016); see also, Engine Mfrs. Ass ’n v. South Coast Quality Maint. Dist.,
   7 498 F.3d 1031, 1039 n.2 (9th Cir. 2007) (taking judicial notice of a transcript of an
   8 oral argument before the California Supreme Court); United States ex rel. Robinson
   9 Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992) (a
  10 federal court “may take notice of proceedings in other courts, both within and without
  11 the federal judicial system, if those proceedings have a direct relation to matters at
  12 issue”); Lee v. City of Los Angeles, 250 F.3d 668, 688-689 (9th Cir. 2001) (“a court
  13 may take judicial notice of matters of public record”); Gerritsen v. Warner Bros.
  14 Entertainment Inc., 112 F. Supp. 3d 1011, 1033 (C.D. Cal. 2015) (“Under Rule 201,
  15 the court can take judicial notice of ‘[p]ublic records and government documents
  16 available from reliable sources on the Internet,’ such as website run by governmental
  17 agencies.”).
  18         The Court “must take judicial notice if a party requests it and the court is
  19 supplied with the necessary information.” Fed. R. Evid. 201(c)(2); see also, Lyon v.
  20 Gila River Indian Community, 626 F.3d 1059, 1075 (9th Cir. 2010) (holding that
  21 district court erred in refusing to take judicial notice of official action filed by Bureau
  22 of Indian Affairs).
  23   Dated: July 9, 2018                 BLAKELY LAW GROUP
  24
  25                                       By: /s/ Brent H. Blakely
                                               BRENT H. BLAKELY
  26                                           Attorneys for Defendant
  27                                           MICHAEL COHEN
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                                 REQUEST FOR JUDICIAL NOTICE
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                    EXHIBIT 1
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